Case 1:20-cv-02658-CJN Document 15-14 Filed 09/23/20 Page 1 of 8




              EXHIBIT 8
9/22/2020             Case 1:20-cv-02658-CJN Document  15-14
                                                  C-SPAN         Filed
                                                         Transcript Viewer09/23/20 Page 2 of 8




            President Trump Remarks to Florida Sheriffs
                                                 July 31, 2020
Unidentified Speaker: WITH FLORIDA SHERIFF'S AT THE BOTTOM OF THE STEPS OF AIR FORCE ONE
AT TAMPA AIRPORT. HE TALKED ABOUT SUPPORT FOR LAW ENFORCEMENT AND THE
GOVERNMENT'S RESPONSE TO PROTESTS ACROSS THE NATION. [CHEERS AND APPLAUSE] (music)
AND I'M PROUD TO BE AN AMERICAN WHERE AT LEAST I KNOW I'M FREE AND I WILL FORGET
THE MEN WHO DIED WHO GAVE THAT RIGHT TO ME AND I GLADLY STAND UP NEXT DAY YOU
AND DEFEND HER STILL TODAY BECAUSE THERE AND NO DOUBT I LOVE THIS LAND GOD BLESS
THE USA (music) (music) (music) (music) FROM MINNESOTA TO THE HILLS OF TENNESSEE ACROSS
THE PLAINS FROM SEA TO SHINING SEA FROM DE JURE DOWN TO HOUSTON AND NEW YORK TO
L.A. THERE IS PRIDE IN EVERY AMERICAN HEART AND IT IS TIME WE STAND AND SAY THAT I'M
PROUD TO BE AN AMERICAN WHERE AT LEAST I KNOW I'M FREE AND I WANT FORGET THE MEN
WHO DIED WHO GAVE THAT RIGHT TO ME AND I GLADLY STAND UP NEXT TO YOU AND DEFEND
HER STILL TODAY CAUSE THERE AIN'T NO DOUBT I LOVE THIS LAND GOD BLESS THE USA AND
I'M PROUD TO BE AN AMERICAN WHERE AT LEAST I KNOW I'M FREE AND I WON'T FORGET THE
MEN WHO DIED WHO GAVE THAT RIGHT TO ME AND I GLADLY STAND UP NEXT TO YOU AND
DEFEND HER STILL TODAY CAUSE THERE AIN'T NO DOUBT I LOVE THIS LAND GOD BLESS THE
USA! (music) (music) [CHEERS AND APPLAUSE] PRES.
TRUMP: THANK YOU.
>> (music) AND I'M PROUD TO BE AN AMERICAN WHERE AT LEAST I KNOW I'M FREE (music) PRES.
TRUMP: THANK YOU VERY MUCH, EVERYBODY. THAT IS REALLY GREAT. THANK YOU, THANK
YOU FOR BEING HERE. THIS IS A GOOD CROWD. I THOUGHT IT WAS ONLY GOING TO SOME
GREAT SHARES AND LAW ENFORCEMENT PEOPLE AND THIS WEATHER IS SO BEAUTIFUL. THE
HEAT, I LOVE THE HEAT. I AM THRILLED TO BE BACK IN MY HOME STATE, FLORIDA. FLORIDA.
[APPLAUSE] TODAY, I'M HONORED TO RECEIVE THE ENDORSEMENT OF DOZENS OF INCREDIBLE
FLORIDA SHERIFF'S AND WE JUST RECEIVED -- THE SHARES WILL BE HAPPY TO HEAR THAT WE
JUST RECEIVED THE ENDORSEMENT OF MANY OF THESE ORGANIZATIONS AROUND THE UNITED
STATES. I CANNOT IMAGINE THEY ARE ENDORSING THE OTHER SIDE THE WAY THINGS ARE
GOING. I WOULD THINK THAT IS A TOUGH ENDORSEMENT. THIS MORNING COME I WAS ALSO
DEEPLY GRATEFUL TO MEET SO MANY OTHER GREAT, GREAT LAW ENFORCEMENT -- THEY CAME
TO THE OVAL OFFICE. THEY CAME TO THE WHITE HOUSE. THERE IS A BIG LOVE AFFAIR
BETWEEN US AND LAW ENFORCEMENT AND IT IS ESPECIALLY GREAT IN THE STATE OF FLORIDA
AND I APPRECIATE IT. I KNOW THE GENTLEMAN BEHIND ME AND THEY HAVE BEEN DOING A
FANTASTIC JOB BUT AS LONG AS I AM PRESIDENT, I WILL NEVER DEFUND YOUR POLICE, I
PROMISE YOU. [APPLAUSE] WE MAY INCREASE YOUR POLICE. INSTEAD, WE WILL DEFEND OUR
POLICE AND GIVE OUR LAW ENFORCEMENT HEROES THE RESOURCES, EQUIPMENT, AND
SUPPORT AND RESPECT THAT THEY SO RICHLY DESERVE. WE ARE DELIGHTED TO BE JOINED
TODAY BY A VERY GOOD FRIEND OF MINE. A MAN WHO IS A GREAT GOVERNOR AND WHO WAS
A GREAT SENATOR, RICK SCOTT. RICK, THANK YOU. ALEX CESAR, THE MAN THAT IS REALLY
HAVING OUR COVID --YOU KNOW, THEY ARE STARTING TO GIVE US REALLY HIGH MARKS ON
THIS CHINA VIRUS. IT SHOULD NEVER HAVE COME HERE. THEY SHOULD NEVER HAVE
ALLOWED IT TO HAPPEN. WHERE ARE RICK AND WHERE IS ALEX ? HELLO, FELLAS AND THANK
YOU. PROUD SHARES AND POLICE TO USE ALL ACROSS THIS GREAT STATE, WE APPRECIATE YOU
BEING HERE. LATER TODAY, GOVERNOR DESANTO'S AND SENATOR SCOTT AND I WILL
PARTICIPATE IN A BRIEFING ON FLORIDA'S BATTLE AGAINST THE CHINA VIRUS. MY
ADMINISTRATION IS ALSO CLOSELY MONITORING THE HURRICANE APPROACHING THE
FLORIDA COAST. IN FACT, I'VE GOT A GET OUT OF HERE. IT IS RIGHT BEHIND ME. [LAUGHTER]
HAVE A GREAT EVENING. GOOD LUCK. HAVE A GREAT EVENING, FELLAS. WE WILL ALL DO
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9/22/2020     Case 1:20-cv-02658-CJN Document  15-14
                                          C-SPAN         Filed
                                                 Transcript Viewer09/23/20 Page 3 of 8

WHATEVER IS NECESSARY TO HELP FLORIDA AND THE STORM, I GUESS IT IS GOING TO BE A
ROUGH STORM BUT I KNOW WHAT THEY. AFTER HAVING DONE THIS FOR 3.5 YEARS, YOU HAVE
SEEN WORSE. YOU HAVE SEEN SOME BEAUTIES. AS SOON AS THE STORMS CAME IN, I SIGNED
THE EMERGENCY DECLARATIONS. BEFORE RICK WOULD EVEN ASK FOR IT OR RON AND THEY
ASKED VERY QUICKLY, BOTH OF THEM, I CAN TELL YOU. I HAVE COMPLETE CONFIDENCE IN
YOUR GOVERNOR. HE IS DOING A FANTASTIC JOB. AS YOU KNOW. THAT IS GOOD. [CHEERS AND
APPLAUSE] I'LL HAVE TO TELL HIM. AND AM COMPLETELY CONFIDENT IN THE RESILIENCE OF
THIS DATE. OUR NATION HAS WITNESSED AN APPALLING ASSAULT ON AMERICA'S LAW
ENFORCEMENT AND LAW ENFORCEMENT OFFICERS, INCREDIBLE PEOPLE. AND IT HAS BEEN
VERY UNFAIR. THEY HAVE NOT BEEN GIVEN THE BACKUP THEY NEED FROM ELECTED
OFFICIALS. IN MANY CASES, I DON'T CALL IT LEADERSHIP. THEY JUST HAPPENED TO BE
ELECTED BUT THEY ARE NOT LEADERS. RADICAL LEFT, EDUCATORS AND ANARCHISTS IN
PORTLAND HAVE BURNED CITY STREETS AND ATTACKED LAW ENFORCEMENT WITH BRICKS
AND CINDERBLOCKS AND FIREWORKS AND EXPLOSIVES. AND THEY SAY -- IT IS JUST WATER.
FROZEN WATER IN FROZEN BOTTLES THAT THEY THROW. AND FOOD. THEY BRING FOOD.
CANNED SOUP. THEY ARE PROS, A LOT OF THEM ARE PROFESSIONALS AND THEY ARE
PROFESSIONAL ANARCHIST. CANNED SOUP. ISN'T THAT NICE. IT IS MEANT TO THROW AND
WHEN THEY GET CAUGHT THEY SAY IT IS JUST FOR MY FAMILY. ISN'T THAT NICE? BUT THEY
USE IT TO THROW. I DON'T THINK YOU SEE THAT TOO MUCH DOWN HERE. IF YOU SAW IT DOWN
HERE, YOU WOULD NOT BE SEEING AT LONG. [APPLAUSE] IT WOULDN'T BE LONG. IT WOULD BE
LONG. THEY WOULD NOT BE THROWING SOUP AT THESE GUYS. IN JACKSONVILLE, FLORIDA A
MANNEQUIN DRESSED IN A POLICE UNIFORM WAS HUNG IN EFFIGY RECENTLY FROM A
HIGHWAY OVERPASS. YOU SAW. NOT GOING TO HAPPEN. DEMOCRAT POLITICIANS ACROSS THE
NATION HAVE EMBRACED THE DANGEROUS CAMPAIGN TO THE FUND COMEDY FAME, AND
EVEN ABOLISH OUR POLICE. WE ARE NOT ABOLISHING OUR POLICE. JUST DAYS AGO, NANCY
PELOSI REFER TO FEDERAL LAW ENFORCEMENT OFFICERS AS DORM TROOPERS. THAT -- YOU
KNOW WHAT STORMTROOPERS ARE, RIGHT? WHO "MUST BE STOPPED." THE PEOPLE THAT ARE
ANARCHIST AND THE PEOPLE THAT ARE TERRORISTS -- THEY DON'T HAVE TO BE STOPPED BUT
SHE WANTS OUR POLICE OFFICERS STOPPED. THAT IS NOT HAPPENING. JOE BIDEN IS VICIOUSLY
SLANDERING OUR POLICE IF HE ACTUALLY KNEW WHAT HE WAS TALKING ABOUT WHICH I
DON'T THINK HE DOES -- DON'T TAKE IT PERSONALLY BECAUSE HE HAS NO IDEA WHAT HE IS
TALKING ABOUT. THEY PUT IT THERE AND HE READS IT. SOMETIMES HE READS IT AND
SOMETIMES HE DOESN'T. PRETTY SOON, HE WILL BE ABLE TO DO THAT EITHER. AND SAID THAT
WHEN THE WELL ARMED OFFICERS DO THEIR JOB AND ENFORCE THE LAW, THEY BECOME THE
ENEMY. I SEE. THEY BECOME THE ENEMY WHEN THEY ENFORCE THE LAW. THAT IS NICE. WHEN
ASKED IF HE SUPPORTED CUTTING POLICE BUDGETS HE LOOKED AT THEM AND SAID YES. BUT
AGAIN, I DON'T THINK HE KNEW EXACTLY WHAT THE QUESTION MEANT. TOO COMPLICATED. IF
-- HIS UNITY PLATFORM WAS DEVELOPED WITH BERNIE SANDERS, CRAZY BERNIE. THE ONLY
GUY I HAVE EVER SEEN THAT IS A BETTER LOSER THAN BERNIE. IF POCAHONTAS WOULD NOT
HAVE RUN, HE WOULD'VE WON SUPER TUESDAY. SHE STAYED FOR SUPER TUESDAY AND LEFT
RIGHT AFTER SUPER TUESDAY. IF SHE WOULD'VE LEFT THE RACE THE DAY BEFORE, BERNIE
WOULD'VE GOTTEN IT AND THEN HE GETS OUT AND HE IS FRIENDS WITH EVERYONE JUST LIKE
IT NEVER HAPPENS. I DON'T KNOW IF HE HAS ANOTHER RUN IN HIM. HE'S NOT LOOKING TOO
GOOD BUT HE IS A GREAT LOSER. AND I HAVE TO SAY, BERNIE'S PEOPLE -- WE HAD 50% OF THE
VOTE WERE BERNIE PEOPLE BECAUSE THEY LOVED TRUMP WITH TRAIT. LOOK AT WHAT WE
DID WITH CHINA. BEFORE THE PLAGUE CAME IN, WE WERE DOING SO GREAT. BETTER THAN
ANY COUNTRY HAVE EVER DONE -- HAS EVER DONE. WE WERE BEATING CHINA AT EVERY
LEVEL. 67 YEARS AGO -- THEY WERE HAVING THE WORST YEAR AND WE WERE HAVING THE
BEST YEAR WE HAVE EVER HAD WITH OUR ECONOMY AND JOBS WHETHER IT IS AFRICAN-
AMERICAN EMPLOYMENT, ASIAN AMERICAN EMPLOYMENT AMONG WOMEN, HISPANIC
EMPLOYMENT WAS THE BEST EVER IN HISTORY. HISPANIC EMPLOYMENT. WHO IS HISPANIC?
AND HE HAS PANICS IN THE CROWD -- ANY HISPANICS IN THE CROWD? YOU LOOK AT PEOPLE
WITHOUT A DIPLOMA, HIGH SCHOOL, PEOPLE WITH A DIPLOMA FROM HIGH SCHOOL, PEOPLE
THAT WENT TO COLLEGE, FINISHED COLLEGE -- MORE GROUPS THAN YOU'VE EVER HEARD AND
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9/22/2020     Case 1:20-cv-02658-CJN Document  15-14
                                          C-SPAN         Filed
                                                 Transcript Viewer09/23/20 Page 4 of 8

EVERYTHING GO GROUP IS DOING THE BEST THEY HAVE EVER DONE. THE STOCK MARKET WAS
THE HIGHEST IT EVER WAS. NASDAQ IS ACTUALLY HIGHER. AND WE HAD THE BEST JOB
NUMBERS JUST RECENTLY. BUT WE HAD THE BEST OF EVERYTHING AND THE GOOD NEWS IS
THAT WE REBUILT OUR MILITARY. $2.5 TRILLION. THINK ABOUT IT. WE TOTALLY REBUILT OUR
MILITARY. WHEN I TOOK IT OVER, IT WAS DEPLETED. WE HAD FIGHTER JETS THAT WERE 52
YEARS OLD. I DON'T CARE WHO THE ENEMY IS. WE HAVE ALL BRAND-NEW FIGHTER JETS. LOTS
OF F-35'S, SUPER JETS. WE HAVE NEW MISSILES AND NEW ROCKETS INTO EVERYTHING. NEW
TANKS. WE HAVE A BRAND-NEW MILITARY. A LOT OF THE EQUIPMENT IS COMING VERY SOON.
ALL MADE IN THE USA. THAT IS VERY IMPORTANT. [APPLAUSE] SO WE HAVE PEOPLE LIKE
BERNIE WHO WANT TO REIMAGINE PUBLIC SAFETY. WE ARE GOING TO REIMAGINE --
REIMAGINE THEM. I DON'T KNOW MUCH ABOUT WHAT THEY DO. I CAN TELL YOU ONE THING, I
SUPPORT THEM AND THE REASON IS THERE IS NO ONE BETTER IN THE WORLD. THEY DON'T
HAVE TO REIMAGINE, THEY ARE THE BEST IN THE WORLD. NATIONWIDE, THIS IS HARD WITH
CHICAGO AND ALL THE PLACES RUN BY THE RADICAL LEFT, OUR NUMBERS NATIONWIDE ARE
THE BEST THEY HAVE EVER BEEN. WE HAVE VERY GOOD CRIME NUMBERS NATIONWIDE WHICH
IS PRETTY AMAZING WHEN YOU ADD A COUPLE OF PLACES LIKE PORTLAND, SEATTLE, AND
CHICAGO. YOUR RADICALS LIKE REPRESENTATIVES ALEXANDRIA BECAUSE YOU'LLOCASIO-
CORTEZ. A REAL BEAUTY. I CALL HER AOC PLUS 3. -- DOES NOT LOVE OUR COUNTRY. YOU ARE
GOING TO GET ME IN TROUBLE. EYEWALL TELL THEM WHAT YOU SAID. THEY MADE THE EXACT
SAME STATEMENT AS YOU AND THEY CRITICIZED A FOR NOT GETTING ANGRY AT THE PEOPLE
IN THE AUDIENCE. YOU REMEMBER ME? WE WON'T SAY THAT BUT THEY KNOW WHAT I MEAN.
AND RASHIDA TALIB. AND THEY ALL MEAN TO DEFUND AND DISBAND POLICE DEPARTMENTS.
THAT IS WHAT THEY WANT TO DO. BIDEN AND BERNIE'S MANIFESTO. I CALL IT A MANIFESTO.
THEY DON'T CALL IT THAT. IT IS SORT OF STRANGE. IT IS FURTHER LEFT THAN BERNIE IS. OPEN
BORDERS. DON'T GO AFTER CRIMINALS. IMMEDIATE EDUCATION FOR ILLEGAL ALIENS. DON'T
CARE FOR ILLEGAL ALIENS WHEN OUR OWN PEOPLE DON'T NECESSARILY GET IT. IT IS FURTHER
LEFT THAN BERNIE EVER WAS AND IT IS A DISASTER. AND BAN FRACKING. FORGET ABOUT
ENERGY. TWO DAYS AGO I WAS IN TEXAS AND I SAID -- BERNIE WANTS TO BAN FRACKING AND
OIL. THEY SAID -- WE DID NOT KNOW THAT. WE THINK WE WILL VOTE FOR TRUMP. WINNING
TEXAS AND BEING AGAINST OIL AND GAS IS NOT GOOD. DO YOU AGREE? THEY ARE ALSO
AGAINST GUNS. THEY WANT TO GET RID OF YOUR SECOND AMENDMENT. THEY WILL, IF
SOMETHING HAPPENS HERE, WHEN OF THE UNEXPECTED THINGS THAT COULD HAPPEN. THEY
WOULD IMMEDIATELY GO FOR THE SECOND AMENDMENT AND I AM PROTECTING YOUR
SECOND AMENDMENT. [APPLAUSE] BIDEN SUPPORTS LETHAL SANCTUARY CITIES WHICH
RELEASE DANGEROUS CRIMINAL ALIENS UNDER THE STREETS. THEY PROTECT ALIENS MUCH
MORE SO THAN PEOPLE THAT ARE NOT ALIENS. THEY PROTECT CRIMINALS. BIDEN OPPOSES
THE DEATH PENALTY EVEN FOR COP KILLERS AND CHILD MURDERERS. IN BOSTON WHERE YOU
HAVE THE ANIMAL THAT KILLED SO MANY PEOPLE DURING THE BOSTON MARATHON, THEY
JUST SET HIS CONVICTION FOR THE DEATH PENALTY BACK TO THE LOWER COURT. THEY WILL
ARGUE ABOUT THAT FOR A LONG TIME AND IT IS RIDICULOUS. UNDER THE LAST
ADMINISTRATION COME A FUNDING FOR LOCAL POLICE WAS CUT BY HUNDREDS OF MILLIONS
OF DOLLARS AND NOW THEY ARE TALKING ABOUT A MUCH LARGER CUT. 80% OF THE STATE
AND LOCAL ENFORCEMENTS SURVEYED REPORTED A DROP IN FEDERAL FUNDING. AND MS 13
WAS ALLOWED TO GO WILD IN OUR CITIES DURING THE LAST ADMINISTRATION. WE HAVE
TAKEN THOUSANDS AND THOUSANDS OF MS 13 THE HELL OUT OF OUR COUNTRY. AND NOW
WITH THE WALL UP TO 267 MILES -- WE HAVE BUILT 267 MILES. YOU NEVER HEAR ABOUT THE
WALL ANYMORE. IT USED TO BE THE BIGGEST SUBJECT. I WANT THE FAKE NEWS MEDIA TO
TALK ABOUT THE WALL HERE IT HAS HAD A GREAT IMPACT ON THE BORDER. MEXICO HAS HAD
A GREAT IMPACT. THEY HAVE 27,000 SOLDIERS ON OUR SOUTHERN BORDER REJECTING US
FROM PEOPLE COMING IN FROM LOTS OF PLACES. SOME PLACES THAT ARE NOT WORKING OUT
SO GOOD BUT FROM MEXICO AND COMING ILLEGALLY INTO OUR COUNTRY. HONDURAS,
GUATEMALA, EL SALVADOR. SO, WE HAVE THE STRONGEST ORDER WE HAVE EVER HAD AND AS
THE WALL GOES UP, NOTHING GETS THROUGH THAT WALL. THAT WALL WAS BUILT TO LAST A
LONG TIME. I WENT TO BORDER PATROL. BORDER PATROL, THEY ARE INCREDIBLE PEOPLE. I
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9/22/2020    Case 1:20-cv-02658-CJN Document  15-14
                                         C-SPAN         Filed
                                                Transcript Viewer09/23/20 Page 5 of 8

ASKED THEM WHAT KIND OF WALL DID THEY WANT TO HAVE? THEY SAID WE NEED TO HAVE
SOME SEE-THROUGH ABILITY. WE WANT STEEL BUT ALSO CONCRETE. STEEL ON THE OUTSIDE
AND CONCRETE ON THE INSIDE AND IF YOU COULD PUT HEAVY STRENGTH REBAR -- I SAID,
THIS IS GETTING A LITTLE BIT MUCH BUT WE GAVE THEM EVERYTHING THEY WANT. AND THE
PLATE ON TOP IS AN ANTI-CLIMB PLATE WHICH MAKES IT VERY TOUGH TO CLIMB. IT MAKES IT
MUCH TOUGHER TO CLIMB. I FIGURED WE COULD SAVE A FEW BUCKS BUT WE DID NOT BUT WE
GOT IT FOR THE RIGHT PRICE. WE ARE ALMOST AT 270 MILES. AT THE END OF THIS YEAR, IT
WILL BE JUST ABOUT FINISHED. AND WE ARE DOING MORE WALL THEN WE STATED WE WERE
GOING TO DO. WE WILL BE OVER 500 MILES AND IT IS HAVING A TREMENDOUS IMPACT.
WHEREVER THE WALL IS BUILT, PEOPLE ARE NOT COMING THROUGH. THE VICTIMS OF THE
RADICAL ANTI-POLICE POLICIES ARE MILLIONS OF INNOCENT AMERICANS OF EVERY RACE,
COLOR, AND BACKGROUND INCLUDING SOME AMAZING HISPANIC AMERICANS WHO FOLLOW
OUR LAWS, LOVE OUR COUNTRY AND UPLIFT OUR COMMUNITIES WANTING SAFETY FOR
THEMSELVES AND FOR THEIR FAMILIES. AND I WILL TELL YOU WHAT, THE HISPANIC
AMERICANS UNDERSTAND THE BORDER BETTER THAN ANYBODY, EVEN ME. THEY WANT GREAT
PEOPLE COMING INTO THE COUNTRY. THEY DON'T WANT PEOPLE TAKING THEIR JOBS OR THEIR
HOUSES. AND TAKING THEIR PROSPERITY. WE HAVE HAD A TREMENDOUS RELATIONSHIP. I WAS
GIVEN, BY THE WAY, THE CUBANS --DO WE HAVE ANY CUBANS HERE? I WAS GIVEN THE BAY OF
PIGS AWARD. THEY GAVE ME THE BAY OF PIGS AWARD TO. THAT WAS A GREAT THING. WE ARE
TAKING CARE OF VENEZUELA AND OF CUBA. JOE BIDEN AND THE RADICAL LEFT HAVE AN
OUTRAGEOUS CAMPAIGN AGAINST LAW ENFORCEMENT WHICH IS A MAJOR REASON WHY
VIOLENT CRIME IS SURGING IN DEMOCRATICALLY LED CITIES ACROSS THE NATION. WHEN YOU
HAVE A DEMOCRATICALLY RUN CITY, YOU HAVE PROBLEMS. IF JOE BIDEN IS ELECTED
PRESIDENT, THE CHAOS AND BLOODSHED WILL SPREAD TO EVERY COMMUNITY IN OUR LAND.
YOU WILL HAVE A PORTLAND EVERYWHERE. LOOK AT PORTLAND. IT IS LIKE FROM 100 YEARS
AGO. I WILL TELL YOU, HOMELAND SECURITY HAS BEEN INCREDIBLE. A NUMBER OF DAYS
AGO, WE SENT THEM TO PROTECT THE COURTHOUSE. THEY HAVE DONE A GREAT JOB. THESE
RALLIES OR RIOTS, THEY ARE TERRORISTS AND ANARCHISTS. THEY HAVE BEEN GOING ON NOW
FOR 64 DAYS. SEVEN DAYS AGO, WE SENT THEM INTO PROTECT THE COURTHOUSE. WE GAVE
THEM A SHORT PERIOD OF TIME TO CLEAN UP THE CITY AND GET RID OF THIS -- LET'S SAY
"THESE PEOPLE" BECAUSE I ALWAYS USE A BAD TERM AND I WOULD HAVE IN TROUBLE WITH
THOSE PEOPLE UP THERE. WITH THE NEWS. THERE THEY ARE. WE WOULD'VE BEEN IN BIG
TROUBLE. BUT WE CLEAN IT UP AND THEY EMPTIED OUT THE PARK LAST NIGHT. THEY ARE
SUPPOSED TO INVITE A THIN BUT WE INVITED OURSELVES IN. IF THEY DO NOT CLEAN IT UP, WE
WILL BE SENDING IN PEOPLE AND WE WILL TAKE CARE OF IT IN ABOUT TWO HOURS. IT WILL
GO VERY QUICKLY BUT THEY KNOW THAT. THEY KNOW THAT. BUT I WANT TO THANK
HOMELAND SECURITY BECAUSE THEY PROTECTED THE COURTHOUSE. BY THE TIME THEY GOT
THERE, THE GRAFFITI WAS ALL OVER THE PLACE BUT THEY WERE LOOKING TO BLOW IT UP
AND TEAR IT DOWN. IN JOE BIDEN'S AMERICA, YOU AND YOUR FAMILY WILL NEVER BE SAFE.
RIOTERS AND CRIMINALS WILL BE PROTECTED. LAW-ABIDING CITIZENS WILL BE DISARMED
AND AMERICAN FAMILIES WILL BE AT THE MERCY OF THE VIOLENT LEFT-WING MOB YOU HAVE
BEEN WATCHING ON TELEVISION. THERE WILL BE NO SAFETY, NO SECURITY, NO PEACE, NO
JUSTICE, NO WENT TO PROTECT YOU AND KNOW WHEN TO DEFEND THE AMERICAN WAY OF
LIFE. PEOPLE LIKE STANDING BEHIND THE WILL NOT BE CONSIDERED PRIME TIME. WITH ME,
THEY ARE CONSIDERED PRIME TIME. THEY ARE THE BEST WE HAVE. THEY ARE THE BEST WE
HAVE. I MEAN IT. UNDER MY ADMINISTRATION, WE TAKE A DIFFERENT APPROACH. AS
PRESIDENT, I WILL ALWAYS STAND WITH THE INCREDIBLE MEN AND WOMEN OF LAW
ENFORCEMENT. BY THE WAY, THAT MEANS YOU'RE UNBELIEVABLE FIRST RESPONDERS, YOUR
UNBELIEVABLE FIRE MEN AND WOMEN, YOUR UNBELIEVABLE GROUPS OF PEOPLE THAT WORK
THE AMBULANCES AND THE DOCTORS AND THE NURSES THAT ARE SO GREAT. AND WE ARE
WITH ALL OF THEM. UPON TAKING OFFICE, I ENDED THE LAST ADMINISTRATION'S EIGHT YEAR
CRUSADE TO CRIPPLE OUR SHARES, OUR POLICE OFFICERS AND LAW ENFORCEMENT HEROES
ALL OVER OUR COUNTRY. I MADE AVAILABLE 700 $60 MILLION WORTH OF SURPLUS MILITARY
EQUIPMENT TO PROTECT POLICE AND THE LINE OF DUTY. DID ALL OF YOU GET SOME OF THAT?
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9/22/2020    Case 1:20-cv-02658-CJN Document   15-14
                                          C-SPAN         Filed
                                                 Transcript Viewer09/23/20 Page 6 of 8

PRETTY MUCH. BECAUSE THEY DID NOT WANT TO DO IT BECAUSE THEY SAID IT MADE THE
POLICE LOOK TOO STRONG. I SAID, WHAT IS THAT ALL ABOUT? AND A LOT OF IT IS DEFENSIVE
EQUIPMENT LIKE THE TRUCKS AND THE HEAVY ARMOR. AND WE ARE SIT -- IT WAS SITTING IN
WAREHOUSES ALL OVER THE UNITED STATES DRAWING DUST. SOME OF IT WAS BRAND-NEW
AND GETTING OLDER. ONE OF THE FIRST THINGS I DID WAS DISTRIBUTE IT THROUGHOUT THE
UNITED STATES. I DISTRIBUTED IT GETTING IT TO ALL OF OUR POLICE OFFICERS. CLOSE TO A
BILLION DOLLARS WORTH OF EQUIPMENT. WE ARE SENDING HUNDREDS OF LAW
ENFORCEMENT OFFICERS AND TO PLACES LIKE CHICAGO AND OTHER CITIES TO HELP THEM
AND IF THEY DO NOT GET THEIR ACTS STRAIGHTENED OUT AND CHICAGO, OVER THE LAST
FEW WEEKS, YOU HAVE HAD HUNDREDS OF PEOPLE SHOT AND FAR TOO MANY PEOPLE -- I
WON'T EVEN GIVE YOU THE NUMBERS, IT IS A DISGRACE. FAR TOO MANY PEOPLE KILLED
INCLUDING YOUNG CHILDREN THAT WERE SUPPOSED TO BE BY ACCIDENT. THEY WILL EITHER
GET THEIR ACTS STRAIGHTENED OUT AND CLEANED UP OR WE WILL GET A CLEANED UP FOR
THEM AND THEY KNOW THAT. I PLEDGE TO EVERY LAW ENFORCEMENT OFFICER HERE AND
ANYWHERE IN THIS LAND THAT IF I AM REELECTED I WILL FIGHT FOR POLICE EVERYTHING ALL
DAY. I DO ANYWAY. I FIGHT LIKE HELL FOR OUR POLICE AND SOMETIMES I WILL SEE IT ON THE
OTHER SIDE. THEY ALWAYS WANT TO CUT BACK FROM THE POLICE. YOU ARE TALKING ABOUT
PEANUTS. SMALL AMOUNTS OF MONEY RELATIVE TO THE KIND OF HARBOR THAT CAN HAPPEN
WITH -- HORROR THAT CAN HAPPEN. THESE PEOPLE ARE GREAT AND THEY DO A PHENOMENAL
JOB. THEY ARE BRAVE AND STRONG AND FRANKLY, I KNOW THEY ARE WELL PAID BUT NOT
WELL-PAID ENOUGH AS FAR AS I'M CONCERNED. I WILL WORK WITH THE REPUBLICAN
CONGRESS WHERE WE HAVE GREAT SUPPORT FOR LAW ENFORCEMENT TO CONFRONT THE FAR
LEFT LOCAL PROSECUTORS AND DEMOCRATIC RUN -- IN DEMOCRATICALLY RUN CITIES WHO
REFUSED TO PROSECUTE CRIMES EVEN MURDER. AND WHEN THEY DO, THEY LET PEOPLE OUT
ALMOST INSTANTLY. THIS IS INCREDIBLE. YOU WOULD NOT EVEN BELIEVE IT CAN BE
HAPPENING. THEY HAVE MURDERERS IN PHILADELPHIA -- TAKE A LOOK AT YOUR CHIEF
PROSECUTOR IN PHILADELPHIA. IN THAT CITY, PEOPLE THAT KILL AND MURDER GET OUT
AUTOMATICALLY AND QUICKLY OR DON'T EVEN GO TO JAIL AT ALL. KILLERS. WE WILL DRIVE
OUT THE FANATICALLY ANTI-POLICE IDEOLOGY OF THE RADICAL SOCIALISTS, MARXISTS AND
OUR KIDS AND I WILL FIGHT TO MAKE SURE THAT CRIMINALS THAT MURDER OUR POLICE
OFFICERS WITH A FAIR TRIAL QUICKLY RECEIVE THE DEATH PENALTY. [APPLAUSE] TOGETHER
WE WILL KEEP AMERICAN FAMILIES SAFE. WE WILL MAKE EVERY AMERICAN COMMUNITY
SECURE. AND WE WILL MAKE AMERICA GREAT AGAIN. YOU HAVE HEARD THAT BEFORE. AND
WE WERE THERE UNTIL THE VIRUS CAME UPON US AND WE WILL SOON BE THERE AGAIN. WE
WILL SOON BE THERE AGAIN. AND CHINA, WE HAVE NOT FORGOTTEN. WE HAVE NOT
FORGOTTEN. I WOULD LIKE TO ASK NOW BREVARD COUNTY OFFICER TO SPEAK A FEW WORDS.
>> MR. PRESIDENT, THANK YOU FOR STANDING WITH US TODAY. I AM BREVARD COUNTY
SHERIFF WAYNE IVEY AND TODAY I'M PROUD TO STAND WITH FELLOW SHARES RUM THE STATE
OF FLORIDA AS WE PROUDLY GIVE OUR SUPPORT TO PRESIDENT DONALD J. TRUMP. LET THERE
BE NO MISTAKE, PRESIDENT TRUMP UNDERSTANDS THAT THE GOVERNMENT'S ONLY
RESPONSIBILITY IS TO PROTECT ITS CITIZENS. THAT IS WHY MYSELF AND THOUSANDS OF LAW
ENFORCEMENT OFFICERS ACROSS OUR NATION SUPPORT PRESIDENT TRUMP. HE UNDERSTANDS
THAT WE ARE THE FIRST AND LAST LINE OF DEFENSE FOR OUR CITIZENS AND OUR
CONSTITUTIONAL RIGHTS. I HAVE BEEN A LAW ENFORCEMENT OFFICER FOR OVER 40 YEARS
AND I HAVE NEVER SEEN A TIME WITH CHALLENGES THAT OUR COUNTRY FACES TODAY. THERE
HAVE BEEN SUGGESTIONS TO DEFUND POLICE AND GO SOFT ON CRIME AND WORST. THAT IT IS
OK TO COMMIT ACTS OF VIOLENCE AND LOOTING BECAUSE THEY OPPOSE LAW AND ORDER.
AMERICA NEEDS A PRESIDENT THAT STANDS STRONG WITH OUR LAW ENFORCEMENT OFFICERS
AND WHO WILL BE UNWAVERING IN PROTECTING WHAT I CALL OUR THREE C'S --OUR CITIZENS,
OUR COPS, AND OUR CONSTITUTION. DONALD TRUMP IS THAT PRESIDENT AND WE KNOW HOW
IMPORTANT IT IS TO HAVE THE CONTINUED SUPPORT FROM THE WHITE HOUSE AND TO MAKE
SURE THAT WE HAVE THE RESOURCES, TOOLS, AND BACKING IT TAKES TO GET THE JOB DONE.
WE NEED A PRESIDENT THAT WILL CONTINUE TO BE UNWAVERING AND STAND -- IN STANDING

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9/22/2020    Case 1:20-cv-02658-CJN Document  15-14
                                         C-SPAN         Filed
                                                Transcript Viewer09/23/20 Page 7 of 8

STRONG FOR LAW AND ORDER. WE NEED A PRESIDENT THAT WILL CONTINUE TO SAY -- IF YOU
BREAK THE LAW, YOU WILL GO TO JAIL. AND NOT A PRESIDENT THAT WANTS TO GIVE
CRIMINALS HULKS. -- HUGS. NOW MORE THAN EVER, WE NEED A PRESIDENT THAT IGNORES
THE INSANITY OF THOSE THAT SAY WE HAVE TO DEFUND THE POLICE. AND WHO STANDS
SHOULDER TO SHOULDER WITH OUR BRAVE MEN AND WOMEN WHO PUT THEIR LIVES AT RISK.
DONALD J. TRUMP IS A PRESIDENT. AND WHAT WE NEED IS TO MAKE ABSOLUTELY CERTAIN
THAT WE KEEP HIM IN WASHINGTON, D.C. OR HE CAN STAND WITH THOSE THAT PROTECT OUR
COMMUNITY AND OUR COUNTRY. DONALD TRUMP STANCE WITH OUR LAW ENFORCEMENT
OFFICERS AND OUR MILITARY. A PRESIDENT WHO HONORS THOSE THAT HAVE HEROICALLY
STAND AT THE GATE FIGHTING EVIL. THERE IS ONLY ONE PRESIDENT BACK AND SAY IS FOR
LAW AND ORDER. HE IS THE ONLY ONE THAT CAN STAND AND SAY -- THESE ARE OUR COPS. IN
MY VIEW THERE IS ONLY ONE CANDIDATE FOR PRESIDENT IN 2020 THAT EVEN UNDERSTANDS
WHAT LAW AND ORDER MEANS, AND THAT IS WHY WE ARE STANDING HERE TODAY, MR.
PRESIDENT, IN SUPPORT OF YOU, BECAUSE WE NEED SOMEONE IN WASHINGTON WHO WILL BE
UNWAVERING IN THE SUPPORT OF OUR INSTITUTION. WE ARE PROUD TO STAND WITH HIM. MR.
PRESIDENT, WE STANDING HERE WITH YOU AND OTHERS AROUND THE COUNTRY ARE PROUD
TO STAND WITH YOU IN THE PROTECTION OF OUR COUNTRY AND THANK YOU FOR ALWAYS
STANDING WITH US, SIR. [APPLAUSE]
>> HOW ARE YOU DOING, TAMPA BAY? [APPLAUSE] WHO ARE WE GOING TO VOTE INTO AUGUST
-- INTO OFFICE? THAT IS RIGHT. WE ARE GOING TO BREAK -- BRING HIM BACK. FOUR MORE
YEARS WE NEED HIM. I WANT TO SAY THANK YOU. [APPLAUSE] SENATOR RICK SCOTT IN D.C.
WORKING HARD FOR US, THANK YOU, SENATOR. [APPLAUSE] MR. PRESIDENT, NEXT TIME YOU
COME, WE ARE GOING TO DO ABOUT THE RATE INSTEAD. IT IS MUCH BETTER. MY BEAUTIFUL
WIFE BRIDGET RECOMMENDED THAT. I AM PROUD TO STAND HERE WITH MY FELLOW SHERIFFS
INTRODUCE PRESIDENT DONALD TRUMP FOR HIS REELECTION. LIKE HIM, LIKE HIM WE ARE
PRAYING FOR EVERYBODY TO PASS HIM. I AM PROUD OF PRESIDENT TRUMP STANDING WITH
THE LOYAL AND STRONG LAW ENFORCEMENT OFFICERS, THAT ARE OUT THERE TRYING TO BE
PEACEMAKERS. RIGHT NOW WE ARE HURTING. OUR FAMILIES ARE HURTING. HE IS THE ONE
STANDING UP THERE SUPPORTING US ALONG WITH ALL OF YOU. I WANT TO SAY THANK YOU
VERY MUCH. [APPLAUSE] I WILL TOUCH UPON SOMETHING THAT IS GETTING LOST OUT THERE
BUT IT IS TRUE WHAT PRESIDENT TRUMP HAS DONE FOR US. HE UNDERSTANDS THE HEALTH
CARE ISSUE OF MENTAL HEALTH AND SUBSTANCE ABUSE WE DEAL WITH. LAW ENFORCEMENT
HAS BECOME AN ISSUE, BUT THE HEALTH CARE ISSUE ESPECIALLY IN FLORIDA WE ARE
DEALING WITH. HE HAS STOOD UP DURING HIS PRESIDENCY TO HELP THOSE PEOPLE. DURING
HIS FIRST TERM, HE HAS CHAMPIONED TO EXTRACT -- TO EXPAND DRUG TREATMENT AND
ENHANCE REENTRY PROGRAMS. PEOPLE BECAME ADDICTS NOT BECAUSE OF ISSUES OF THEIR
OWN BUT BECAUSE THEY WERE LED TO OPIOIDS. HE HAS REACHED OUT TO HELP THEM. THOSE
ARE THE PEOPLE WE DEAL WITH EVERY DAY. WHEN YOU HEAR THE TERM DEFUND THE POLICE,
THAT IS DEFUNDING IS PEOPLE WITH MENTAL HEALTH AND SUBSTANCE ABUSE THAT NEED OUR
HELP. PRESIDENT TRUMP DID NOT IGNORE THEIR PLIGHT. HE HELPED THEM AND OUR FAMILIES
BECAUSE EVERY ONE OF US KNOWS SOMEBODY. HE KNOWS THE -- HE HELD THE FIRST WHITE
HOUSE SUMMIT ON MENTAL HEALTH. HE HAS BEEN FIGHTING TO SUPPORT THOSE THAT NEED
THAT HELP. IN HEALTH CARE ISSUES WE DEAL WITH IN OUR COMMUNITY, OUR OVERWHELMING
LAW ENFORCEMENT. HE UNDERSTANDS THAT. PRESIDENT TRUMP'S OUT THERE SUPPORTING US
BECAUSE HE UNDERSTANDS THEY ARE NOT JUST STATISTICS HOW PEOPLE HAVE BEEN KILLED
BY OPIOIDS. THAT IS OUR GRANDCHILDREN, OUR SONS, OUR DAUGHTERS, OUR BROTHERS, OUR
SISTERS AND A FRIEND. THOSE ARE PEOPLE THAT NEED THAT HELP. THIS PRESIDENT STOOD UP
AND IS HELPING THEM HELP US HELP THEM TOO. [APPLAUSE] PRESIDENT TRUMP HAS BEEN
THAT LEADER THAT HAS REACHED HIS HAND OUT TO SO MANY DIFFERENT COMMUNITIES. HE
IS REACHING OUT, GIVING THEM A HAND AND GETTING THEM BACK ON THEIR FEET. THOSE
ARE THE PEOPLE WE DEAL WITH. IT IS A PERSON WHO IS THE VICTIM OF THE EFFECTS OF
VIOLENCE, WHO HAS HAD A DRUG ADDICTION ISSUE AND IS LOOKING FOR HELP. THOSE ARE
THE QUIET PEOPLE THAT ARE OUT THERE THAT DON'T HAVE A VOICE PRESIDENT TRUMP GAVE

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9/22/2020    Case 1:20-cv-02658-CJN Document  15-14
                                         C-SPAN         Filed
                                                Transcript Viewer09/23/20 Page 8 of 8

TO. I AM GRATEFUL TO STAND HERE WITH THEM BECAUSE THOSE ARE ISSUES WE DEAL WITH. I
AM PROUD TO HAVE A PRESIDENT THAT WILL REACH OUT AND GIVE THEM A HELPING HAND.
THAT IS SOMETHING LOST IN OUR SOCIETY IS THE BIG HEART THIS PRESIDENT HAS. GOD BLESS
OUR PRESIDENT AND OUR COUNTRY. [APPLAUSE] MR.
TRUMP: SO THANK YOU VERY MUCH. THESE PEOPLE, I SHOULD NOT SAY THIS THAT I WILL. I
WANTED TO COME DOWN THE STAIRS OF THE BEAUTIFUL PLANE, TO SHAKE THEIR HANDS, TO
HUG THEM AND KISS THEM BUT I WON'T BE ABLE TO DO THAT FOR MAYBE 90 DAYS OR SO. WE
WILL BE BACK. BUT WE WANT TO THANK YOU ALL. THESE ARE INCREDIBLE PEOPLE BEHIND
ME, LAW ENFORCEMENT. SOME ARE ALLOWED TO DO THEIR JOB, MANY ARE NOT. THOSE ARE
THE PLACES -- WE ARE TURNING IT AROUND VERY STRONGLY. I WILL ALWAYS BE WITH THESE
GREAT PEOPLE. I WILL ALWAYS THE WITH THEM AND NEVER LET THEM DOWN AND I WILL
ALWAYS BE WITH THE PEOPLE OF FLORIDA, YOUR SPECIAL STATES, VERY IMPORTANT TO ME.
WE ARE GOING TO GO ON AREA THE POLLS ARE GOING UP. WE HAD AN EASY CAMPAIGN THEN
GOT HIT BY THE CHINA VIRUS. CHINA COULD NOT HAVE BEEN HAPPIER BECAUSE MAYBE WE
CAN GET RID OF THAT GUY. WE DON'T WANT HIM AS PRESIDENT. WE LIKE THE OTHER ONE.
THEY WOULD OWN THIS COUNTRY. IF THEY DEALT WITH BIDEN, THEY WOULD OWN THIS
COUNTRY. WOULD BE VERY QUICK. WOULD NOT TAKE LONG. DID NOT HAPPEN THAT WAY WITH
ME. WE ARE GOING ONE WAY UP AND THEY WERE NOT DOING WELL. I WANT TO THANK
EVERYBODY HERE. BE CAREFUL A LITTLE BIT TONIGHT. THERE IS A BIG STORM. DON'T KNOW IF
IT WILL BE A HURRICANE OR NOT, BUT IT IS SIGNIFICANT. YOU KNOW HOW TO HANDLE THAT
BETTER THAN ANYBODY PROBABLY IN THE WORLD. WE WILL BE HERE FOR YOU. THE
DECLARATION IS READY TO BE SIGNED BEFORE YOU GET HIT. THANK YOU TO FLORIDA AND
LAW ENFORCEMENT. INCREDIBLE PEOPLE. [APPLAUSE] (music) THANK YOU, FELLOWS. THANK
YOU. [CAPTIONS COPYRIGHT NATIONAL CABLE SATELLITE CORP. 2020] [CAPTIONING
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